Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 1 of 13 PagelD #: 1
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JUAN REYES, individually and on CASE NO:
behalf of others similarly situated,

Plaintiff,
VS.

HYLAN CUCINA, INC. d/b/a
ROYAL CROWN BAKERY

a New York Corporation, and FRANK
GALANO an individual,

Defendants.
x

 

COMPLAINT

Juan Reyes (“Plaintiff”), individually and on behalf of others similarly situated, by and
through his attorneys, Law Offices of Nolan Klein, P.A., hereby sues Hylan Cucina, Inc. (d/b/a
Royal Crown Bakery, Inc.) (“Corporate Defendant”) and Frank Galano (hereinafter “Individual
Defendant”) (Corporate Defendant and Individual Defendant are referred to collectively as
“Defendants”), and alleges:

NATURE OF THE ACTION

1. Plaintiff brings this action on behalf of himself, and other similarly situated
individuals, for unpaid overtime wages pursuant to the Fair Labor Standards Act of 1938, 29
U.S.C. § 201 et seq. (“FLSA”), for violations of the N.Y. Labor Law §§ 190 ef seq. and 650 ef seq.
(the “NYLL”), and for violations of the “spread of hours” and overtime wage orders of the New

York Commissioner of Labor codified at N.Y. COMP. CODES R. & REGS. Tit. 12, § 146-1.6
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 2 of 13 PagelD #: 2
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

(the “Spread of Hours Wage Order”), including applicable liquidated damages, interest, attorneys’
fees, and costs.

2. Plaintiff further seeks certification of this action as a collective action on behalf of
Plaintiff individually, and on behalf of all other similarly situated employees and former
employees of Defendants pursuant to 29 U.S.C. § 216(b).

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction pursuant to the FLSA, 29 U.S.C. §
216(b), 28 U.S.C. § 1337 (interstate commerce), and 28 U.S.C. § 1331 (federal question).
Supplemental jurisdiction over the state law claims is conferred by 28 U.S.C. § 1367(a).

A Venue is proper in this District under 28 U.S.C. § 1391(b) and (c) because all or a
substantial part of the events or omissions giving rise to the claims occurred in this District,

Defendants operate their business in this District, and Plaintiff was employed in this District.

PARTIES
5. Plaintiff is over the age of 18 years, swi juris, and is a resident of this District.
6. Corporate Defendant is a domestic business corporation organized and existing

under the laws of the State of New York.

7. Corporate Defendant is a bakery located at 1352 Hylan Blvd., Staten Island, NY
10305, doing business as Royal Crown Bakery.

8. On information and belief, Individual Defendant Frank Galano is over the age of
18 years, sui juris, and owns (in whole or in part), operates, and/or controls the Corporate
Defendant, and/or has authority over rates of pay and schedules of employees within the Corporate

Defendant’s business.
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 3 of 13 PagelD #: 3
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

9. Individual Defendant is sued herein individually in his capacity as, on information
and belief, he is an owner, officer and/or agent of Corporate Defendant.

10. Defendants are an enterprise as defined by the FLSA, 29 U.S.C. § 203 (r-s).

11. Atal times relevant to this action, Defendants were engaged in commerce or in an
industry or activity affecting commerce.

12. Upon on information and belief, the Corporate Defendant had, at all times material
hereto, a gross annual volume of sales of not less than $500,000.00.

13. Upon information and belief, Defendants and/or their enterprise were and are
directly engaged in interstate commerce.

FACTS

14. At all relevant times, Plaintiff was and is a former employee of the Defendants
within the meaning of the FLSA and NYLL.

15. Plaintiff worked for the Defendants for approximately one (1) month, from
November 29, 2022, through December 30, 2022.

16. Plaintiff was employed to cook, clean, and provide customer service to those who
came into the store.

17. Plaintiff regularly handled goods in interstate commerce, including food goods like
flour, sugar, eggs, and other such items and products in the store.

18. Plaintiffs work duties required neither discretion nor independent judgment.

19. Plaintiff worked for Defendants from Tuesday through Saturday from 9 a.m. to
approximately 9 p.m. Accordingly, Plaintiff worked approximately 60 hours per week.

20. Plaintiff was paid a standard rate of $13.00 per hour as a flat hourly rate, with no

pay raises during the term of his employment.
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 4 of 13 PagelD #: 4
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

21. Throughout his employment with Defendants, Plaintiff was paid in cash with no
pay stubs provided.

22. Defendants failed to pay Plaintiff any overtime premium (time and a half) for hours
worked over forty (40) in each workweek.

23. Defendants failed to provide Plaintiff with wage statements at the time of payment
of wages, containing: the dates of work covered by that payment of wages; name of employee;
name of employer; address and phone number of employer; rate or rates of pay and basis thereof,
whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross wages;
deductions; allowances, if any, claimed as part of the minimum wage; net wages; the regular hourly
rate or rates of pay; the overtime rate or rates of pay; the number of regular hours worked, and the
number of overtime hours worked, as required by NYLL §195(3).

24. Defendants failed to provide Plaintiff, at the time of hiring, a statement in English
and the employee’s primary language (in this case, Spanish), containing: the rate or rates of pay
and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;
allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging
allowances; the regular pay day designated by the employer; the name of the employer; any “doing
business as” names used by the employer; the physical address of the employer's main office or
principal place of business, and a mailing address if different; and the telephone number of the
employer, as required by New York Labor Law §195(1).

25. Defendants failed to pay Plaintiff the required “spread of hours” pay for any day in

which he worked 10 hours or more.
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 5 of 13 PagelD #: 5
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

26. Upon information and belief, Defendants’ conduct extended beyond Plaintiff to all
other similarly situated employees, including non-exempt employees working in other
departments of the Corporate Defendant business.

27. As part of their regular business practice, Defendants intentionally, willfully, and
repeatedly harmed Plaintiff and similarly situated individuals by engaging in a pattern, practice,
and/or policy of violating the FLSA and the NYLL.

RULE 23 CLASS ACTION ALLEGATIONS

28. Plaintiff brings this action on his own behalf, and as a class action, pursuant to
Federal Rule of Civil Procedure 23, on behalf of a class of individuals defined as follows: Any and
all individuals employed by Defendants at Defendants’ food supply company located at 1352
Hylan Blvd. Staten Island, NY 10305 at any time during the six-year period preceding the date on
which this complaint was filed (the “Class”).

29. Excluded from the Class is any person who is an executive, professional,
managerial, or other employee of Defendants who is exempt from coverage under the NYLL and
FLSA, and not subject to protection of those laws.

30. The members of the class are so numerous that joinder of all Class members is not
practical. The size of the class will be determined through discovery.

31. Plaintiffs claims are typical of those of the Class. Plaintiff, along with every
member of the Class, has suffered violations of applicable labor laws, including each of the
violations complained by Plaintiff herein.

32. Plaintiff will adequately protect the interest of all members of the Class and has
retained competent legal counsel experienced class action litigation as well as FLSA and NYLL

litigation. Plaintiff has no interest that are contrary to the interests of the Class.
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 6 of 13 PagelD #: 6
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

33.  Acclass action is by far the most efficient way by which to resolve all FLSA and
NYLL claims belonging to any current or former Employee of Defendants, which occurred at any
time within the relevant limitations period. The expense and burden associated with individual
litigation of each claim held by each member of the Class would be extraordinarily inefficient for
Defendants, for members of the Class, and for courts of this District.

34. Common questions of law and fact prevail with respect all members of the Class
predominate over questions applicable solely to individual Class members. Among such common
question of law and fact is whether Defendant has violated its state and federal legal obligations
by failing to comply with FLSA and NYLL requirements in the manner alleged by Plaintiff herein,
such that all members of the Class are owed minimum, overtime, and/or spread of hours pay, as
ell as damages for failure to provide required wage and other notices.

35. Plaintiff knows of no special or unique difficulty that would be encountered in the
management of litigation that might preclude its maintenance as a class action.

36. | The names and addresses of Class members are readily discernable from the
Defendants’ business records. Notice of this case to each member of the Class, along with notice
to each member of the Class that he/she will need to opt-out of the Class or otherwise be barred
from pursuing future action, can be delivered by U.S. Mail, or electronic mail (where applicable),
using technique and a form of notice similar to those customarily used in class action litigation in
the District, and can additionally be posted at Defendants’ place of business, or by other means
that are likely to reach members of the Class.

FLSA COLLECTIVE ACTION CLAIMS
37. Plaintiff brings his FLSA minimum wage, overtime, and liquidated damages claims

as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf ofall similarly
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 7 of 13 PagelD #: 7
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

situated persons (the “FLSA Class”), i.e., persons who are or were employed by Defendants or any
of them at any time during the three-year period prior to this Complaint being filed (the “FLSA
Class Period”).

38.  Atall relevant times, Plaintiff and other members of the FLSA Class were similarly
situated in that they had substantially similar job requirements and pay provisions, and were
subject to Defendants’ common practices, policies, programs, procedures, protocols and plans
including willfully failing and refusing to pay them the required minimum wage and overtime.

39. The claims of Plaintiff stated herein are similar to those of the other similarly
situated employees.

FIRST CAUSE OF ACTION
(Violation of the Minimum Wage Provisions of the FLSA)

40. _ Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

41. _ At all times relevant to this action, Defendants were Plaintiff's employer (and
employer of the putative FLSA Class members) within the meaning of the Fair Labor Standards
Act, 29 U.S.C. § 203(d).

42. Defendants had the power to hire and fire Plaintiff (and the FLSA Class members),
controlled the terms and conditions of employment, and determined the rate and method of any
compensation in exchange for their employment.

43. At all times relevant to this action, Defendants were engaged in commerce or in an
industry or activity affecting commerce.

44. Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (1-8).
Case 1:23-cv-00164-AMD-RML_Document1 Filed 01/10/23 Page 8 of 13 PagelD #: 8
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

45. Defendants failed to pay Plaintiff and the FLSA class members at the applicable
minimum hourly rate, in violation of 29 U.S.C. § 206(a).

46. Defendants’ failure to pay Plaintiff and the FLSA class members at the applicable
minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

47.  Plaintiffand the FLSA class members were damaged in an amount to be determined

 

 

at trial.
SECOND CAUSE OF ACTION
(Violation of the Overtime Provisions of the FLSA)
48. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

49. Defendants failed to pay Plaintiff and the FLSA class members overtime
compensation at rates of one and one-half times the regular rate of pay for each hour worked in
excess of forty hours in a workweek, in violation of 29 U.S.C. § 207 (a)(1).

50. Defendants’ failure to pay Plaintiff and the FLSA class members overtime

compensation was willful within the meaning of 29 U.S.C. § 255(a).

 

 

51. Plaintiffand the FLSA class members were damaged in an amount to be determined
at trial.
THIRD CAUSE OF ACTION
(Violation of the New York Minimum Wage Act)
52. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

53. Defendants paid Plaintiff less than the minimum wage, in violation of NYLL §

652(1) and supporting regulations.
Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 9 of 13 PagelD #: 9
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A6

54. Defendants’ failure to pay Plaintiff minimum wage was willful within the meaning
of NYLL § 663.
55. Plaintiff was damaged in an amount to be determined at trial.

FOURTH CAUSE OF ACTION
(Violation of the Overtime Provisions of the New York Labor Law)

56. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

57. Defendants failed to pay Plaintiff overtime compensation at rates of one and one
half times the regular rate of pay for each hour worked in excess of forty hours in a workweek, in
violation of NYLL Art. 19 and 12 N.Y-C.R.R. § 142-2.2.

58. Defendants’ failure to pay Plaintiff overtime compensation was willful within the
meaning of NYLL § 663.

59. Plaintiff was damaged in an amount to be determined at trial.

FIFTH CAUSE OF ACTION
(Violation of the Spread of Hours Wage Order of the New York Commissioner of Labor)

60. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

61. Defendants failed to pay Plaintiff one additional hour’s pay at the basic minimum
wage rate before allowances for each day Plaintiff's spread of hours was ten hours or more in
violation of NYLL §§ 650 ef seq. and 12 N.Y.C.R.R. §§ 146-1.6.

62. Defendants’ failure to pay Plaintiff an additional hour’s pay for each day Plaintiff's
spread of hours was ten hours or more was willful within the meaning of NYLL § 663.

63. Plaintiff was damaged in an amount to be determined at trial.

SIXTH CAUSE OF ACTION
_ Case 1:23-cv-00164-AMD-RML Document1 Filed 01/10/23 Page 10 of 13 PagelD #: 10
DocuSign Envelope ID: B2589442-DDEA-426B-A9B6-3DDCB74C29A8

(VIOLATION OF THE NOTICE AND RECORDKEEPING REQUIREMENTS OF THE
NEW_YORK LABOR LAW}

64.  Plaintiffre-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

65. Defendants failed to provide Plaintiff with a written notice, in English and in
Spanish (Plaintiffs’ primary language), of his rate of pay, regular pay day, and such other
information as required by NYLL §195(1).

66. Defendants are liable to Plaintiff in the amount of $5,000, together with costs and

attorneys’ fees.

SEVENTH CAUSE OF ACTION
(VIOLATION OF THE WAGE STATEMENT PROVISIONS OF THE NEW YORK

LABOR LAW)

67. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set
forth herein.

68. Defendants never provided Plaintiff with wage statements upon each payment of
wages, as required by NYLL 195(3).

69. Defendants are liable to Plaintiff in the amount of $5,000, together with costs and
attorneys’ fees.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against
Defendants:

a) Designating this action as a collective action and authorizing prompt issuance of
notice pursuant to 29 U.S.C. § 216(b) to all putative class members, apprising them of the pendency
of this action, and permitting them promptly to file consents to be plaintiffs in the FLSA claims in

this action;

10
Case 1:23-cv-00164-AMD-RML_ Document1 Filed 01/10/23 Page 11 of 13 PagelID #: 11
DocuSign Envelope ID: B2589442-DDEA-426B-A9B6-3DDCB74C29A8

b) Declaring that Defendants violated the minimum wage provisions of, and
associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA class members; (c)
Declaring that Defendants violated the overtime wage provisions of, and associated rules and
regulations under, the FLSA as to Plaintiffs and the FLSA class members;

c) Declaring that Defendants’ violations of the provisions of the FLSA were willful
as to Plaintiffs and the FLSA class members;

d) Awarding Plaintiff and the FLSA class members damages for the amount of unpaid
overtime wages, and damages for any improper deductions or credits taken against wages under
the FLSA as applicable;

e) Awarding Plaintiff and the FLSA class members liquidated damages in an amount
equal to 100% of their damages for the amount of unpaid minimum and overtime wages, 29 U.S.C.
§ 216(b);

f) Declaring that Defendants violated the minimum wage provisions of, and rules and
orders promulgated under, the NYLL;

g) Declaring that Defendants violated the overtime wage provisions of, and rules and
orders promulgated under, the NYLL;

h) Declaring that Defendants violated the Spread of Hours Wage Order of the New
York Commission of Labor;

i) Declaring that Defendants’ violations of the New York Labor Law and Spread of
Hours Wage Order were willful;

j) Awarding Plaintiff damages for the amount of unpaid minimum and overtime
wages, spread of hours pay under the NYLL, and damages for any improper deductions or credits

taken against wages,

Il
_ Case 1:23-cv-00164-AMD-RML_ Document1 Filed 01/10/23 Page 12 of 13 PagelD #: 12
DocuSign Envelope 1D: B2589442-DDEA-426B-A9B6-3DDCB74C29A8

k) Awarding Plaintiff damages for Defendants’ violation of the NYLL notice and
recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

D Awarding Plaintiff liquidated damages in an amount equal to one hundred percent
(100%) of the total amount of minimum wage, spread of hours pay and overtime compensation
shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to
NYLL § 198(3);

m) Awarding Plaintiff pre-judgment and post-judgment interest as applicable;

n) Awarding Plaintiff the expenses incurred in this action, including costs and
attorneys’ fees;

0) Providing that if any amounts remain unpaid upon the expiration of ninety days
following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal
is then pending, whichever is later, the total amount of judgment shall automatically increase by
fifteen percent (15%), as required by NYLL § 198(4); and

p) All such other and further relief as the Court deems just and proper.

JURY DEMAND
Plaintiff demands a trial by jury on all issues triable by a jury.
January 10, 2023
Respectfully Submitted,
LAW OFFICES OF NOLAN KLEIN, P.A.
Attorneys for Plaintiff
5550 Glades Rd., Ste. 500

Boca Raton, FL 33431
PH: (954) 745-0588

By: _ /s/ Nolan Klein
NOLAN KLEIN, ESQUIRE
(NK 4223)
klemn@nklegal.com
amy@nklegal.com

2 melanie@nklegal.com
Case 1:23-cv-00164-AMD-RML_ Document1 Filed 01/10/23 Page 13 of 13 PagelD #: 13
DocuSign Envelope ID: B25894A2-DDEA-426B-A9B6-3DDCB74C29A8

CONSENTIMIENTO PARA DEMANDAR BAJO
LA LEY DE NORMAS LABORALES JUSTAS
(FAIR LABOR STANDARDS ACT)

Yo, JUAN REYES soy un empleado o ex empleado de HYLAN CUCINA, INC. d/b/a
ROYAL CROWN BAKERY, INC., y/o personas o entidades relacionadas. Las alegaciones que
se establecen en esta demanda me han sido explicadas en espafiol y todas son verdaderas y
correctas a mi entender, informacion y creencia. He consentido para ser demandante en la accién

mencionada anteriormente para cobrar los salarios no pagados y otros dafios y perjuicios.

1/10/2023
Fecha: i 2023.

DocuSigned by:

\van te.

[ wen €ep0s
AA98 10879908490

JUAN REYES

13
